 AO 458 (Rev. 06/09) Appearance of Counsel


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                Eastern District
                                              __________         of of
                                                          District  Wisconsin
                                                                       __________


William Feehan
                                                                )
                              Plaintiff                         )
                        v.                                      )      Case No. 2:20-cv-1771
Wisconsin Election Commission                                   )
                             Defendant                          )

                                               APPEARANCE OF COUNSEL

 To:       The clerk of court and all parties of record

           I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff                                                                                                     .


 Date: 12-3-20                                                               /s/ Howard Kleinhendler
                                                                                           Attorney’s signature

                                                                             Howard Kleinhendler
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                        Case 2:20-cv-01771-PP Filed 12/03/20 Page 1 of 1 Document 13
